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                          UNITED STATES COURT OF APPEALS                     FILED
                               FOR THE NINTH CIRCUIT                          DEC 3 2019
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
  ARTHUR LEE ALFRED II; et al.,                     No.    19-55669

                    Plaintiffs-Appellants,          D.C. No.
                                                    2:18-cv-08074-CBM-AS
    v.                                              Central District of California,
                                                    Los Angeles
  THE WALT DISNEY COMPANY; et al.,
                                                    ORDER
                    Defendants-Appellees.

  Before: Peter L. Shaw, Appellate Commissioner

           Appellees’ opposed motion (Docket Entry No. 25) for reconsideration of the

  October 11, 2019 order at Docket Entry No. 21 is denied.

           Appellees’ unopposed alternate request (included in Docket Entry No. 25)

  for an extension of time to file the answering brief is granted.

           The answering brief is due December 23, 2019.

           The optional reply brief is due within 21 days after service of the answering

  brief.




  LBS 12-02-2019/Pro Mo
